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                    EXHIBIT 1
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                                                                       Page 1

1       UNITED STATES BANKRUPTCY COURT
2       DISTRICT OF DELAWARE
3
4
5       In re:                                :
                                              :    Chapter 11
6       ENERGY FUTURE HOLDINGS                :
        CORP.,      et al.,                   :    Case No. 14-10979(CSS)
7                                             :
                      Debtors.                :    (Jointly Administered)
8       ______________________________:
9
10                                      United States Bankruptcy Court
11                                      824 North Market Street
12                                      Wilmington, Delaware
13
14                                      October 2, 2014
15                                      11:38 AM - 4:10 PM
16
17      B E F O R E :
18      HON CHRISTOPHER S. SONTCHI
19      U.S. BANKRUPTCY JUDGE
20
21
22
23
24
25      ECR OPERATOR:         LESLIE MURIN

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1       agreed to additional search terms in response to feedback

2       from some of the requesting parties, and we're working on

3       getting those results out as soon as possible.

4                   The first deposition of Mr. Keglevic is scheduled

5       for tomorrow, and we have two additional depositions

6       scheduled for Monday and Tuesday of next week.

7                   The parties -- or the requesting creditors have

8       requested three additional depositions, that's a major point

9       of contention and a source of the issue here is that the

10      three additional depositions they've sought, two are board

11      members, Hugh Sawyer and Chuck Cremens, and a third

12      deposition of Carla Howard, the in-house tax counsel at the

13      company.    We don't believe that any of those three

14      depositions are reasonably tied to the relief sought here.

15                  With respect to the board members, the board was

16      not asked to vote on these procedures, they were advised and

17      had visibility into the process, like they have into many

18      other things, but there's -- we're not moving on a board

19      vote or -- and this wasn't a board process, this is a

20      process that is going to -- is proceeding, a board -- the

21      board would ultimately vote on a transaction once it's

22      identified and selected, but that's not the space that we're

23      here for.    And quite frankly, the point for us on the board

24      members is that it's not appropriate to subject the debtors'

25      board members to a deposition for any and all motions that

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1       get brought before the Court regardless of the scope of the

2       relief.

3                   With respect to Ms. Howard, that's the in-house

4       tax counsel, there are two main problems with her

5       deposition.

6                   The first is that we're not seeking relief on any

7       tax issues, we're not seeking an approval of a tax function

8       in connection with the bidding procedures motion, and the --

9       her views on tax issues or her analysis are not at issue in

10      this motion.

11                  Secondly as an in-house attorney most, if not all,

12      of what she would have to say about these issues would be

13      privileged and as a result of her analysis as a lawyer on

14      behalf of the company.

15                  So that is with respect to the depositions, as I

16      said, which is think the major issue before us, the summary

17      of our issues there.

18                  The other issue relates to the scope of even the

19      documents, and more generally the discovery here, which is

20      that the requesting parties are seeking -- specifically

21      seeking documents and other discovery that would identify

22      the details of bids and the identity of bidders with respect

23      to specific bids that have either been rereceived or that

24      are being received.    And as explained affirmatively in the

25      motion, that's not a category of information that we believe

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1       exist in the individual files of Sawyer and Cremens.           And if

2       for some reason they didn't keep those board presentations,

3       it sounds to me like we don't get them even though the board

4       presentations were given to the board by the debtors'

5       professionals.

6                   THE COURT:   Well --

7                   MR. WEISFELNER:    So I'm confused --

8                   THE COURT:   Mr. Weisfelner, Ms. O'Connor said --

9       and I will say, she did qualify it by saying to her

10      knowledge that the "board presentations" were not written

11      materials; they were oral discussions.          But I can tell you,

12      you're going to be -- I'll cut you off to a certain extent

13      and tell you you're going to be able to explore that because

14      I'm going to give you the depositions of Mr. Sawyer and

15      Mr. Cremens.

16                  MR. WEISFELNER:    Thank you, Judge.

17                  THE COURT:   So I'll start there.       First of all,

18      thank you very much for your presentations and throwing

19      together a very organized presentation for the Court on

20      short notice and I do appreciate it.        And I'm going to make

21      a number of rulings here based on what I think are live

22      issues.

23                  First of all, I do find that the depositions of

24      Mr. Sawyer and Mr. Cremens both are appropriate discovery in

25      the context of the debtors', plural possessive, motion to

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1       approve the bid procedures.      And those depositions will go

2       forward with some meditation.

3                    First of all, they won't go forward until after

4       the documents of Mr. Sawyer and Mr. Cremens have been

5       produced so that's something to consider in scheduling.

6       Two, the depositions will be limited to the bidding

7       procedures motion.     This isn't the time to have a twelve

8       hour deposition or tax attributes.        Not saying that tax

9       doesn't necessarily come up in the context of asking about

10      bidding procedures, but the focus should be on bidding

11      procedures and the bidding procedures motion.

12                   Certainly, fair game would be board discussions

13      involving the bidding procedures motion.

14                   The depositions for each gentleman will be limited

15      to four hours of total question time.            I am not going to get

16      involved in splitting up who gets to ask what and how long.

17      The parties wishing to take the -- to ask questions of these

18      gentlemen are going to have to work it out amongst

19      themselves.     When the four hours of questioning time is

20      over, it's over and the deposition is stopped.            I say

21      question time because I don't want twelve million

22      discussions about objections to be counted in how much time

23      is actually going to be dealt with in the context of asking

24      questions.

25                   I will be -- make myself available.         To the extent

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